
PER CURIAM.
Appellant, pursuant to Fla.R.App.P. 9.140(g), having taken this appeal from the summary denial of his motion for post conviction relief under Fla.R.Crim.P. 3.850 and this court having considered the record presented and having further determined that it conclusively appears therefrom that appellant is entitled to no relief, the denial of his motion is affirmed. See Harvin v. State, 385 So.2d 119 (Fla. 3d DCA 1980); Loconte v. State, 382 So.2d 26 (Fla. 1st DCA 1979); Seymour v. State, 359 So.2d 61 (Fla. 3d DCA 1978); Thornton v. State, 354 So.2d 892 (Fla. 3d DCA 1978); Sec. 924.06(3), Fla. Stat. (1978); Rule 9.140(b) Fla.R.App.P.
